            Case 1:19-cv-06569-PAE Document 5 Filed 10/19/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------
                                                                       X
                                                                       :
SANSONIA WOMBLE,                                                       :
                                                                       :     19 Civ. 6569 (PAE)
                                             Plaintiff,                :
                                                                       :   ORDER OF DISMISSAL
                           -v-                                         :
                                                                       :
PENNSYLVANIA HIGHER EDUCATION                                          :
ASSISTANCE AGENCY and SUNTRUST BANK,                                   :
                                                                       :
                                             Defendants.               :
                                                                       :
---------------------------------------------------------------------- X

PAUL A. ENGELMAYER, District Judge:

        On October 2, 2020, the Court issued an order to show cause why this action should not

be dismissed for the plaintiff’s failure to serve the Summons and Complaint within the 90 day

period after the Complaint was filed as required by Rule 4(m) of the Federal Rules of Civil

Procedure. Dkt. 4. On July 15, 2019, plaintiff filed the complaint in this action. Dkt. 2. The

plaintiff has still failed to execute service of process on either defendant. See Dkt. 2.

        The Court’s October 2, 2020 order to show cause advised that if the Court did not receive

any written communication from plaintiff by October 16, 2020, showing good cause why service

was not made within 90 days, the Court would dismiss the claims against defendants. Dkt. 4.

Plaintiff has not provided such communication or otherwise taken any action to make any

progress in this case since the Court’s order to show cause.

        Accordingly, the Court hereby dismisses this case, without prejudice. The Clerk of Court

is respectfully directed to close this case.




                                                         1
        Case 1:19-cv-06569-PAE Document 5 Filed 10/19/20 Page 2 of 2




      SO ORDERED.


                                              PaJA.�
                                              ____________________________
                                              Paul A. Engelmayer
                                              United States District Judge


Dated: October 19, 2020
       New York, New York




                                     2
